        Case 1:24-cr-00558-TNM          Document 15        Filed 01/31/25      Page 1 of 1



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
        v.                                   )       Case No. 1:24-cr-00558-TNM
                                             )
JASON PALLANTE,                              )
          DEFENDANT.                         )
                                             )

                               NOTICE OF WITHDRAWAL OF
                                       COUNSEL

       The United States, by and through its attorney, the United States Department of Justice,

 Criminal Division, Public Integrity Section, hereby informs the Court that Trial Attorney Jacob R.

 Steiner is withdrawing as counsel for the United States in the above-captioned matter.



                                                     Respectfully submitted,

                                                       /s/ Jacob R. Steiner               -
                                                     Jacob R. Steiner
                                                     CA Bar No. 325239
                                                     Trial Attorney, Public Integrity Section
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was delivered on January 31,
2025, to the CM/ECF system of the United States District Court for the District of Columbia for
electronic delivery to all counsel of record.



                                                       /s/ Jacob R. Steiner               -
                                                     Jacob R. Steiner
                                                     Trial Attorney
